      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 1 of 30




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

JUSTIN JOHNSON,                              )
                                             )
       Plaintiff,                            )
                                             )
                                             )
vs.                                          )       Case No.: 3:22-cv-00336-RAH-JTA
                                             )
WAAWAATESI LLC,                              )
d/b/a GREENLINE LOANS et al.                 )
                                             )
       Defendants.                           )

         PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

       COMES NOW Plaintiff and, in response to Defendants Waawaatesi, LLC, d/b/a Greenline

Loans (“Waawaatesi” or “Greenline”), Jessi Lorenzo and Joseph Wildcat’s Motion to Dismiss for

Improper Venue, Lack of Subject Matter Jurisdiction and Failure to State a Claim and to Compel

Arbitration [Doc. 17], submits the following memorandum:

                             INTRODUCTION AND SUMMARY

       Greenline extends small payday loans to borrowers in Alabama which blatantly violate

Alabama law. Greenline is not a licensed small loan lender in Alabama and its rates far exceed

the limits imposed by the Alabama Small Loans Act (“ASLA”). Under the ASLA extending such

a loan in Alabama is a crime and the entire agreement is void ab initio.

       Greenline seeks to evade state law through arbitration and governing law provisions

designed to prevent the adjudication of any state law claim. Greenline’s arbitration clause employs

the broadest possible scope and specifically includes “all state law claims” and “all claims based

upon a violation of any state statute.” At the same time, Greenline’s “Governing Law” provision
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 2 of 30




selects “tribal law” and “applicable federal law” as the exclusive governing law, “without regard

to the laws of any state.”

       Defendants present the arbitration issue in simplest terms: There is an arbitration clause,

Plaintiff’s claims are included in the scope and there is a delegation clause. Therefore, say

Defendants, all issues, including arbitrability, are to be decided by the arbitrator. This ignores the

extreme and unusual nature of Greenline’s arbitration scheme. With its ban on state law,

Greenline’s contract not only bars state law claims, it prevents the arbitrator from applying any

state law to issues regarding the enforceability of the clause itself, including contract defenses.

The FAA requires the application of state law. Without access to state law, the arbitrator has no

way to determine the validity of the arbitration clause “upon such grounds as exist at law or in

equity for the revocation of any contract.” 9 U.S.C. § 2.    Also, the delegation clause, as well as

the entire arbitration agreement, is void under the ASLA and as against fundamental public policy.

       The Complaint specifically challenges the validity of the delegation clause. Therefore, the

Court (not the arbitrator) must adjudicate those challenges. Because the state law ban renders the

delegation clause invalid, the Court must decide the validity of the arbitration clause as a whole.

       The arbitration clause as a whole is unenforceable for several reasons. First, it violates

fundamental public policy by extinguishing the remedies expressly provided in the ASLA.

Second, the clause is part of a contract that is void by operation of the express terms of ASLA.

The clause is also void because it directly conflicts with state statutory requirements and because

the subject matter of the contract (an unlicensed small loan) is a crime. Finally, the clause is

unenforceable because it unconscionably extinguishes state law remedies.

       No claims are subject to dismissal due to tribal immunity because no tribe is sued.

Waataatesi is a separate corporate entity. As such, it is entitled to tribal immunity only if it is
                                               2
       Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 3 of 30




deemed an arm of the tribe. This is a highly fact-driven inquiry and Defendants have the burden

of proof. That determination cannot be made without discovery. The individual defendants are

not entitled to tribal immunity.

                                       RELEVANT FACTS

A.     GREENLINE’S LENDING PRACTICES

       Greenline is an internet payday lender which peddles high-interest small loans in Alabama.

All of its lending business is conducted over the internet. The annual interest rates Greenline

charges range between 200% and 830% annually (the interest rate on Plaintiff’s loan is 777.85%).

Greenline does not lend in every state. Instead, it targets its marketing and loan operation into

specific states, including Alabama. (Complaint, ¶¶ 7-9).

       Greenline lends through an interactive website. Every phase of the lending process

including application, execution and delivery of loan documents, distribution of loan proceeds and

collections is conducted on-line, with the borrower located in Alabama. (Complaint, ¶¶ 3, 7 &

30).

       Greenline’s loans blatantly violate Alabama law. None of the entities or individuals

involved in extending Greenline’s loans is licensed and the loan rates greatly exceed the legal limit.

Greenline attempts to evade state law through use of an arbitration provision which requires that

any state law claim be arbitrated but, at the same time, prohibits the arbitrator from applying state

law. (Complaint, ¶¶ 19-26).

B.     THE LOAN TO PLAINTIFF

       Plaintiff lives in Phenix City. On August 24, 2021, he saw Greenline’s on-line marketing

message offering quick and readily accessible cash loans. At that point, Plaintiff’s income had

been reduced because of the pandemic and he was struggling to pay his bills. Needing access to
                                             3
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 4 of 30




quick cash, he sought an online payday loan. After providing some basic financial information

and verifying his banking information, he was approved for a $300.00 loan. At that point, he was

directed to Greenline’s website where he was required to follow a series of prompts in order to

receive the funds. Those prompts included providing his agreement to the terms and conditions.

The prompts did not reveal the actual terms of the contract without additional steps. Plaintiff

followed the prompts and accepted the offered loan. Shortly thereafter, the loan proceeds were

electronically transferred into his Alabama checking account. (Complaint, ¶¶ 29-38) (Declaration

of Justin Johnson, attached hereto as Exhibit 1).

       The annual percentage rate is 777.85 percent, with the total finance charge of $592.32. The

total amount of payments for this $300.00 loan is $892.32. (Complaint, ¶ 29).

       All the actions taken by Plaintiff to initiate and consummate the loan, including his

acceptance of the offered loan terms, were made by him from his home in Phenix City.

(Complaint, ¶ 30)(Johnson Decl., (Ex. 1)).

       Defendants are not licensed to lend money in Alabama. (Complaint, ¶¶ 5, 19, 68).

C.     THE ALABAMA SMALL LOANS ACT

       Any Alabama consumer loan in an amount less than $1,500 is governed by the Alabama

Small Loans Act, Ala. Code Sections 5-18-1 through 23 (1975)(“ASLA”). The ASLA was enacted

to address the “evils” created by an increased demand for small loans and the response by

opportunistic lenders. The Alabama legislature found that, as a result of those market

forces, “borrowers of small sums are being exploited to the injury of the borrower, his dependents

and the general public. Charges are generally exorbitant in relation to those necessary to the

conduct of a legitimate small loan business, trickery and fraud are common and oppressive

collection practices are prevalent.” Ala. Code § 5-18-2(5). (Complaint, ¶¶ 14-18).
                                                 4
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 5 of 30




        The ASLA prohibits any person from extending small loans in Alabama without a small

loan license. Ala. Code § 5-18-4. Any loan agreement covered by the Act and made by an

unlicensed lender is null and void.       "Any contract of loan in the making or collection of

which acts shall have been done which violates this section (licensing requirement) shall be void,

and the lender shall have no right to collect, receive, or retain any principal, interest or charges

whatsoever." Ala. Code § 5-18-4(d). Extending small loans without a license is also a crime. Ala.

Code § 5-18-4(d).

        The ASLA also limits the amounts which can be charged in connection with small loans.

The highest annual interest rate allowed under the ASLA is 36%.                   Ala. Code § 5-18-

15. (Complaint, ¶¶ 14-18).

D.      GREENLINE’S EFFORTS TO EVADE ALABAMA LAW

        Greenline is a d/b/a of Waawaatesi LLC, (“Waawaatesi”), which claims to be an entity

formed under the laws of the Lac du Flambeau Band of Lake Superior Chippewa Indians (“LDF”

or the “Tribe”). This arrangement is typical of the scheme, known as “Rent-A-Tribe,” whereby a

lending operation forms an association with a tribal entity in an attempt to use tribal law and tribal

sovereignty to evade otherwise applicable state law. But there is no connection with the tribe or

tribal lands. The borrower never visits or steps foot on tribal lands. Every action taken by the

borrower to apply for and consummate the loan is done in Alabama. The tribe’s only purpose is

to provide a liability shield against state law violations, which it provides for a share of the profits.

(Complaint, ¶¶ 2, 19-26).

        State usury laws, like Alabama’s, present a substantive barrier to Greenline’s high-interest

loan business. Federal law, on the other hand, is limited to disclosure requirements and imposes

no substantive restraints on what small loan lenders may charge, nor does federal law require
                                               5
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 6 of 30




licensing. For this reason, evasion of state laws, like the ASLA, is essential for the operation of

Greenline’s business. (Complaint, ¶¶ 19-26).


        Necessary to this scheme are provisions embedded in the loan documents designed to

exclude the application of any state law. These schemes, like Greenline’s, ban all state law and

instead designate tribal law as the exclusive applicable law. Also necessary to these schemes are

arbitration or other dispute resolution clauses designed to prevent a consumer from litigating any

state law claim. (Complaint, ¶¶19-24).

E.      GREENLINE’S           ARBITRATION            CLAUSE         AND      GOVERNING            LAW
        PROVISIONS

        Greenline’s loan agreement requires that all borrower “disputes” be brought in arbitration.

The term “dispute” is to be “given the broadest possible meaning" and specifically includes “all

state law claims” and “all claims based upon a violation of any state statute.” [Doc. 17-1 (the loan

agreement), p. 9]. “Dispute” also includes issues regarding the “validity and scope” of the

arbitration agreement. At the same time, Greenline’s “Governing Law” provision selects tribal

law and “applicable federal law” as the exclusive governing law, “without regard to the laws of

any state.” Id. Thus, while Plaintiff is required to litigate all of his state law claims in arbitration,

including any attack on the validity or enforceability of the arbitration clause, the clause assures

that he cannot do so. It prohibits the arbitrator from applying state law. This scheme has been

deemed unenforceable by several federal courts. (Complaint, ¶ 22).

F.      CLAIMS STATED IN THE COMPLAINT

        Because Plaintiff’s loan was made in Alabama it is subject to Alabama law. Therefore, the

loan agreement is void ab initio and in its entirety by operation of the ASLA. Plaintiff seeks a

Court determination to that effect. Plaintiff also seeks the return of all money received in
                                              6
        Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 7 of 30




connection with the loan. Plaintiff asserts his claims for himself and on behalf of a class of

Alabama borrowers who obtained loans with Greenline.


A.      GREENLINE’S ARBITRATION CLAUSE IS UNENFORCEABLE

        Any motion to compel arbitration raises the threshold issue of arbitrability, i.e., the validity

of the arbitration clause. This gateway issue is severable and separate from issues regarding the

validity of the underlying contract. Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 444

(2006). Normally, the gateway issue of arbitrability is a question for the court. Attix v. Carrington

Mortg. Servs., LLC, 35 F.4th 1284, 1295 (11th Cir. 2022). Federal arbitration law, however,

recognizes the parties’ ability to delegate to the arbitrator the question of arbitrability through clear

and unmistakable contract language. Id. Unlike arbitration clauses in general, delegation clauses

are not presumptively valid and the court must “resolve ambiguities in an agreement to arbitrate

questions about the arbitrability of those claims in favor of the party opposing arbitration.” Id., at

1296.

        If the party opposing arbitration specifically challenges the validity of a delegation clause,

either in the complaint or in response to a motion to compel, the court must adjudicate the validity

of the delegation clause before proceeding further.            If the delegation clause is deemed

unenforceable, then the court must determine the validity of the arbitration agreement as a whole.

Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 72 (2010); Parnell v. CashCall, Inc., 804 F.3d

1142, 1146–47 (11th Cir. 2015).

        Plaintiff raises specific challenges to the delegation clause in the Complaint. Therefore,

the Court, not the arbitrator, must adjudicate those challenges. Because, for the reasons stated in

the Complaint and explained further below, Greenline’s delegation clause is unenforceable, the

                                                   7
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 8 of 30




Court must determine whether the arbitration clause as a whole is enforceable. For the reasons set

out below, it is not.

        1. Court Must Decide Arbitrability Because the Enforceability of Delegation Clause
           has Been Challenged

        The unusual and extreme nature of Greenline’s arbitration agreement is described in detail

in the Complaint, as is Plaintiff’s detailed challenges to the arbitration clause and the delegation

clause specifically. Greenline’s scheme goes well beyond merely providing an alternate forum for

resolving disputes. It is a tool for extinguishing all state law claims. With one hand, Greenline’s

arbitration clause purposefully captures within arbitration every conceivable state law claim and

then, with the other, guarantees that no such claim will ever be adjudicated by prohibiting the

arbitrator from applying any state law. (Complaint, ¶¶ 6, 16, 21, 24-30, 36-37, 48, 56(a)).

        Defendants ignore this altogether. Instead, they cite boilerplate arbitration law, as if this

were a garden variety arbitration agreement merely dictating a forum.         Defendants makes no

mention of, let alone justification for, the clause’s unorthodox ban on the application of any

substantive state law. Nor do Defendants explain how the arbitrator could determine the validity

of the arbitration clause and adjudicate contract defenses without access to state law.

        Also missing from Defendants’ analysis is the settled rule that delegation clauses are not

per se valid. A delegation clause is only enforceable “absent a challenge to the delegation

provision itself. . .."   Parnell, 804 F.3d at 1146–47, citing Rent-A-Center, 561 U.S. at

72(“Accordingly, unless Jackson challenged the delegation provision specifically, we must treat it

as valid. . .."); see also Attix 35 F.4th at 1303(a court must always consider a validity or

enforceability challenge that is “specific” to the delegation agreement before enforcing it); Parm

v. Nat'l Bank of California, N.A., 835 F.3d 1331, 1334 (11th Cir. 2016)(arbitrability was properly

                                                 8
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 9 of 30




decided by court where delegation clause in tribal payday lending contract was specifically

challenged).

       In both Parm and Parnell, the Eleventh Circuit applied this rule in the context of tribal

payday loans. In Parnell, the court reversed the lower court decision that the arbitration clause

was invalid because the lower court failed to first determine whether the delegation clause was

directly challenged. The Parnell panel remanded the case to the district court for a determination

as to that issue. 804 F.3d at 1146-49. On remand, the lower court held that the plaintiff had

specifically challenged the delegation clause in his amended complaint. The district court then

held that the delegation clause and the arbitration clause as a whole were unenforceable because

the forum was illusory and because the ban on state claims was “in bad faith-as a means of

discouraging borrowers from pursuing legitimate claims or as a means to escape regulation by

state agencies.” Parnell v. CashCall, Inc., 181 F. Supp. 3d 1025, 1038 (N.D. Ga. 2016). On (the

second) appeal, the Eleventh Circuit agreed that the amended complaint sufficiently challenged

the delegation clause and affirmed the lower court decision invalidating the entire agreement.

Parnell v. W. Sky Fin., LLC, 664 F. App'x 841 (11th Cir. 2016).

       In Parm, the court agreed with the lower court that the delegation clause was specifically

challenged. It upheld the lower court’s ruling that the delegation clause and the arbitration

agreement as a whole were unenforceable because the selected forum did not exist. 835 F.3d at

1334-38.

       The Parm and Parnell decisions are in line with other circuit courts applying Rent-A-Center

in the tribal loan context. “As with any other agreement to arbitrate, when a party challenges a

delegation clause specifically, the court must evaluate the validity of the delegation ‘before

ordering compliance’ with the clause.” Hengle v. Treppa, 19 F.4th 324, 335 (4th Cir. 2021), cert.
                                              9
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 10 of 30




dismissed sub nom. Asner v. Hengle, 212 L. Ed. 2d 795, 142 S. Ct. 2093 (2022)(because the

delegation clause in a tribal payday loan agreement was specifically challenged, Rent-A-Center

requires the court to adjudicate those challenges); Gibbs v. Sequoia Cap. Operations, LLC, 966

F.3d 286, 291 (4th Cir. 2020)(same); Gingras v. Think Fin., Inc., 922 F.3d 112, 126 (2d Cir.

2019)(same); MacDonald v. CashCall, Inc, 883 F.3d 220, 227 (3d Cir. 2018) (same).

       Defendants make no mention of the Complaint’s multiple specific challenges to the

delegation clause, nor do they reference the Rent-A-Center rule. Instead, they cite Henry Schein,

Inc. v. Archer & White Sales, Inc., ___U.S. ___,139 S. Ct. 524, 527, 202 L. Ed. 2d 480 (2019),

for the oversimplistic proposition that delegation clauses are enforceable under all circumstances.

That is not the holding in Schein. That case addressed the narrow “wholly groundless” doctrine

whereby some circuit courts bypassed delegation clauses if arbitrability appeared “wholly

groundless.” 2 In striking down the “wholly groundless” exception, Schein never discussed, much

less reversed, the separate Rent-A-Center rule requiring court adjudication of specific challenges

to a delegation clause. To the contrary, Schein cites Rent-A-Center with approval. See 139 S. Ct.

at 526. Importantly, no Circuit has held that Schein abrogated Rent-A-Center, and at least three

circuit courts have directly rejected Defendants’ argument. Hengle, 19 F.4th at 335 n.1 (4th Cir.)

(“[W]hile Henry Schein emphasized that courts may not ‘short-circuit’ valid delegation clauses. .

. it did not undermine the principle that a court must consider a litigant's challenge to the validity




2
 The Schein holding has no practical effect in the Eleventh Circuit because it never embraced this
“wholly groundless” doctrine in the first place. Jones v. Waffle House, Inc., 866 F.3d 1257, 1269
(11th Cir. 2017)(“We join the Tenth Circuit in declining to adopt what has come to be known as
the wholly groundless exception.”)


                                                 10
        Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 11 of 30




of a delegation clause.”); Williams v. Medley Opportunity Fund II, LP, 965 F.3d 229, 237 (3d Cir.

2020)(rejecting argument that Schein overturned Rent-A-Center rule requiring judicial review of

challenges to a delegation clause); Gingras, 922 F.3d at 126 n.3 (2d Cir.) (Schein has no bearing

on cases wherein there are specific challenges to a delegation clause); accord, Lloyd’s Syndicate

457 v. FloaTEC, L.L.C., 921 F.3d 508, 515 n.4 (5th Cir. 2019). 3

          Defendants’ only other argument in support of the delegation clause is their citation to

Easley v. WLCC II, No. CV 1:21-00049-KD-MU, 2021 WL 4228876, at *1 (S.D. Ala. Sept. 16,

2021), appeal dismissed, No. 21-13217-JJ, 2022 WL 829038 (11th Cir. Jan. 24, 2022), for the

proposition that the arbitrator must decide arbitrability in all cases. Defendants have Easley

exactly backwards. Easley did not file her claim “after being unsatisfied with arbitration.” (Doc.

17, p. 11). To the contrary, she was very satisfied with arbitration – she won! 4 She filed her case

in arbitration, seeking a declaration that her tribal payday loans were void and unenforceable. The

arbitrator agreed. In an 8-page detailed opinion, the arbitrator declared that her loans subject to

Alabama law, void ab initio by operation of the ASLA and were void because they are premised

on a crime. The arbitrator further held that there was no sovereign immunity protecting off-

reservation activities which violate state law, and, in any event, any sovereign immunity had been

waived. (A copy of the Easley Final Award is attached hereto as Exhibit 2).



3
 The Eleventh Circuit’s recent decision in Attix v. Carrington Mortg. Servs., LLC, 35 F.4th 1284,
1296 (11th Cir. 2022), illustrates that the Rent-A-Center rule remains intact post-Schein. Attix
recognized Schein’s holding with respect to the “wholly groundless” doctrine, but nevertheless
applied the Rent-A-Center rule regarding challenged delegation clauses. See also; In re Checking
Acct. Overdraft Litig., 856 F. App'x 238, 245 (11th Cir. 2021)(applying the Rent-A-Center rule
post-Schein).
4
    The undersigned represented Ms. Easley in that case.

                                                 11
        Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 12 of 30




         Easley then sued in state court to confirm the award. She also included claims for return

of the money paid on the voided loan and a class claim for relief under the ASLA. WLCC removed

the case to federal court. 5   The Final Award was confirmed.          WLCC did not oppose the

confirmation. Instead, it argued that her claims should be sent (back) to arbitration. Magistrate

Judge Bradley Murray, after oral argument, correctly held that the arbitrator’s declaration of the

contracts as void rendered the arbitration clause void as well; and, therefore, there was no basis for

requiring Easley to (re)arbitrate the issue of contract validity which had already been determined

by the arbitrator. Easley v. WLCC II, No. CV 21-0049-KD-MU, 2021 WL 6053077, at *3 (S.D.

Ala. Aug. 11, 2021), report and recommendation rejected, 2021 WL 4228876 (S.D. Ala. Sept. 16,

2021). Judge Dubose accepted the recommendation to confirm the Final Award. But she rejected

the recommendation with respect to arbitration. Misapplying the concept of the separateness of

arbitrability and the validity of a contract, Judge Dubose incorrectly enforced the voided arbitration

contract and held that Easle was required to (re)arbitrate her claims. 2021 WL 4228876, at 8. The

case was then settled on appeal.

         Easley has no application here. Easley did not address a delegation clause (or challenges

thereto) because the claims were initiated in arbitration. Arbitrability was not an issue. Once in

court to confirm the award, there was no need to address any delegation clause because the entire

agreement had already been declared void.

         Here, the Complaint brings the validity of delegation clause to the forefront by asserting

several specific challenges. The Complaint asserts that the delegation clause itself is an integral




5
    The Easley case number is 21-CV-00049-KD-MU (S.D. Ala).

                                                 12
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 13 of 30




component of the scheme to deprive borrowers of state law claims. (Complaint, ¶¶ 26, 37, 48,

56(a)(v)). The Complaint also asserts that the ban on state law renders the delegation clause

unworkable because it prevents the application of state law to questions of contract formation and

enforceability, as well as contract defenses, as required under the Federal Arbitration Act. (Id., ¶¶

27, 37, 48, 56(a)(v)). And the Complaint asserts that the delegation clause, together with the

express ban on applying state law, unconscionably deprives borrowers of state law defenses to the

arbitration clause, including the ASLA which would render the entire loan, including the

arbitration clause, void ab initio. (Id., ¶¶ 26, 37, 48, 56(a)(v)). Because Plaintiff specifically

challenges the delegation clause, it is for the Court, not the arbitrator, to adjudicate these challenges

and determine arbitrability. Attix 35 F.4th at 1303. For the reasons stated below, the ban on the

application of state law renders the delegation clause invalid.

        2. The Ban on State Law Renders the Delegation Clause Invalid

        The validity and enforceability of any arbitration clause must be determined “upon such

grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. The “grounds

as exist” to determine contract formation, validity and contract defenses reside in state law. “When

deciding whether the parties agreed to arbitrate a certain matter (including arbitrability), courts

generally. . . should apply ordinary state-law principles that govern the formation of

contracts.” First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995). Therefore, state

law contract defenses must be applied to determine the enforceability of an arbitration clause, as

long as the state law applied does not discriminate against arbitration. AT&T Mobility LLC v.

Concepcion, 563 U.S. 333, 343 (2011)(effect of FAA Section 2 is to preserve generally applicable

state law contract defenses); Doctor's Associates, Inc. v. Casarotto, 517 U.S. 681, 687


                                                   13
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 14 of 30




(1996) (“generally applicable contract defenses, such as fraud, duress, or unconscionability, may

be applied to invalidate arbitration agreements”).

       FAA’s mandate that arbitration clauses be placed on equal footing with any other contract

cannot be accomplished without access to a body of state contract law:

       [The FAA] retains an external body of law governing revocation (such grounds
       “as exist at law or in equity”). . .. “[S]tate law,” therefore, is applicable to
       determine which contracts are binding under § 2 and enforceable under § 3 “if that
       law arose to govern issues concerning the validity, revocability, and enforceability
       of contracts generally.”

Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 630–31 (2009) quoting Perry v. Thomas, 482 U.S.

483, 492, 107 S. Ct. 2520, 2527, 96 L. Ed. 2d 426 (1987). Applying these principles, the Eleventh

Circuit has “consistently . . . held that state law governs the issue of the existence of an agreement

to arbitrate under the FAA since First Options of Chicago was decided.” Bazemore v. Jefferson

Cap. Sys., LLC, 827 F.3d 1325, 1330 (11th Cir. 2016), see also Larsen v. Citibank FSB, 871 F.3d

1295, 1302–03 (11th Cir. 2017); Burch v. P.J. Cheese, Inc., 861 F.3d 1338, 1346 (11th Cir. 2017).

       Courts addressing similar provisions in tribal payday loan agreements consistently hold

that the state law ban improperly deprives the arbitrator the tools necessary to determine

arbitrability. The Fourth Circuit recently affirmed a ruling that a ban on state law in a tribal loan

contract rendered the delegation clause unenforceable. Hengle v. Treppa, 19 F.4th 324, 339 (4th

Cir. 2021), cert. dismissed sub nom. Asner v. Hengle, 212 L. Ed. 2d 795, 142 S. Ct. 2093 (2022).

In Hengle, the tribal loan contract included an outright ban on any state law, but stated that the

contract be governed by the FAA. The court held that the ban on state law was fatal because it

prohibited the application of state law defenses mandated by Section 2 of the FAA. Id., at 340.

Reference to the FAA did not save the clause because the mandate in Section 2 requires access to

state law and the clause prohibits the arbitrator from applying state law. Id.
                                                  14
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 15 of 30




        Lower courts addressing the same issue consistently hold that the state law ban renders the

delegation clause unworkable. Dunn v. Glob. Tr. Mgmt., LLC, 506 F.Supp.3d 1214, 1231 (M.D.

Fla. 2020)(“In practical terms, enforcing the delegation clause (with a state law ban) would put the

arbitrator in the impossible position of deciding the validity/enforceability of the agreement

without a body of contract law to draw from.”); Gibbs v. Stinson, 421 F. Supp. 3d 267, 291 (E.D.

Va. 2019) aff'd sub nom. Gibbs v. Sequoia Cap. Operations, LLC, 966 F.3d 286 (4th Cir. 2020)

(“Defendants' approach would require an arbitrator to determine whether a valid and enforceable

arbitration agreement exists absent the federal or state law tools necessary to do so.”); MacDonald

v. CashCall, Inc, 2017 WL 1536427, at *4 (D.N.J. Apr. 28, 2017), aff'd, 883 F.3d 220 (3d Cir.

2018)(“[I]f the question of the enforceability of the arbitration clause were sent to an arbitrator, he

or she would be categorically prohibited from applying any federal or state law to arrive at an

answer.”); Smith v. W. Sky Fin., LLC, 168 F. Supp. 3d 778, 786 (E.D. Pa. 2016)(“In practical

terms, enforcing the delegation provision would place an arbitrator in the impossible position of

deciding the enforceability of the agreement without authority to apply any applicable federal or

state law”)(emphasis in original). The same is true here.

        To begin with, this is an Alabama contract and Alabama law applies. Alabama follows the

doctrine of lex loci contractus, which states that a contract is governed by the law of the jurisdiction

within which the contract is made. Lifestar Response of Alabama, Inc. v. Admiral Ins. Co., 17 So.

3d 200, 213 (Ala. 2009). 6 “A contract is formed (made) upon acceptance (the expression or

manifestation of assent to the terms offered) of an offer, and acceptance is the last act necessary to




6
 A court siting in diversity applies the choice of law rules of the forum state. Grupo Televisa, S.A.
v. Telemundo Commc'ns Grp., Inc., 485 F.3d 1233, 1240 (11th Cir. 2007).
                                                   15
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 16 of 30




complete a contract. Vascular Ventures, LLC v. Am. Vascular Access, LLC, 2017 WL 4638597,

at *4 (S.D. Ala. Oct. 16, 2017); see also Parnell, 804 F.3d at 1147 (Georgia law applied to internet

payday loan where Plaintiff was in Georgia when he viewed and signed the loan agreement); Caley

v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1368 (11th Cir. 2005)(“[I]n determining whether

a binding agreement arose between the parties, courts apply the contract law of the particular state

that governs the formation of contracts”).

       Here, all the actions taken by Plaintiff to form the contract, including his acceptance, took

place in Alabama. Therefore, because this is an Alabama contract, the validity of the arbitration

clause is to be determined by Alabama law. Put another way, Alabama law provides the “grounds

that exist at law or in equity for the revocation of any contract” which must be applied under FAA

§ 2. But the contract prohibits the arbitrator from applying Alabama law (or the law of any other

state, for that matter). That prevents the assertion of contract defenses which would apply to any

other contract, including those provided under the ASLA. It is impossible, therefore, for an

arbitrator to determine arbitrability in accordance with “grounds that exist” as to any other contract.

The state law ban leaves Plaintiff “unable to raise contract defenses to challenge the agreement as

the FAA explicitly allows.” Dunn, 506 F.Supp.3d at 1231. Thus, for the same reasons articulated

in Hengle, Dunn, Gibbs, MacDonald and Smith, Greenline’s delegation clause is unworkable and

cannot be enforced.

       Because the delegation clause is invalid, the Court must decide the validity of the

arbitration clause as a whole. For each of the reasons state below, the arbitration clause is

unenforceable.

       3. The Ban on State Law Renders the Entire Arbitration Clause Unenforceable as Against
           Fundamental Alabama Public Policy

                                                  16
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 17 of 30




       Alabama courts may not enforce forum selection or arbitration provisions which violate

express public policy. Ex parte Thicklin, 824 So. 2d 723, 732 (Ala. 2002), overruled on other

grounds by Patriot Mfg., Inc. v. Jackson, 929 So. 2d 997 (Ala. 2005). Such a provision is

“unenforceable, regardless of whether the parties contemplated the resolution of disputes by

arbitration or through judicial proceedings.” Id. at 731; see also Cherry, Bekaert & Holland v.

Brown, 582 So. 2d 502, 506 (Ala. 1991)(choice of law clause selecting North Carolina law, which

allowed non-compete clauses, was unenforceable because it violated Alabama’s (then) ban on

enforcement of such clauses).

       This rule is likewise applied by the Eleventh Circuit. In Davis v. Oasis Legal Fin.

Operating Co., LLC, 936 F.3d 1174, 1176 (11th Cir. 2019), the court refused to enforce a forum

selection clause in a payday lending contract when doing so would violate fundamental Georgia

state policy. Every circuit court addressing tribal payday loans banning state law claims has

refused to enforce the arbitration clauses because they are aimed at skirting state policies

addressing usury. Hengle, 19 F.4th at 339 (arbitration clause in tribal payday loan designed to

avoid state usury law unenforceable as against public policy); Gingras, 922 F.3d at 127 (2nd

Cir.)(same); see also Hayes v. Delbert Servs. Corp., 811 F.3d 666 (4th Cir. 2016)(declaring the

arbitration clause a “farce”); Jackson v. Payday Fin., LLC, 764 F.3d 765 (7th Cir. 2014)(holding

that the arbitration scheme was “a sham from stem to stern”). The only circuit court decision

endorsing a similar clause was the Ninth Circuit’s in Brice v. Haynes Invs., LLC, 13 F.4th 823

(9th Cir. 2021), reh'g en banc granted, opinion vacated sub nom. Brice v. Plain Green, LLC, 35




                                              17
        Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 18 of 30




F.4th 1219 (9th Cir. 2022). However, the Ninth Circuit recently granted en banc review and

vacated the opinion. 35 F.4th 1219. 7

          The public policy expressed in the ASLA could not be clearer. The legislature identified

the harm inflicted on working Alabamians (as well as legitimate lenders) by the predatory practices

by small loan lenders. Ala. Code § 5-18-2. The ASLA is an expression of long-standing Alabama

policy “to condemn usurious contracts as “ ‘tainted with an evil ... intent’ ” and “ ‘offensive to the

policy and positive mandate of the law.’” Austin v. Alabama Check Cashers Ass'n, 936 So. 2d

1014, 1036 (Ala. 2005), quoting State ex rel. Embry v. Bynum, 243 Ala. 138, 143, 9 So. 2d 134,

139 (1942). The legislature also decried the “trickery and fraud” which it found “prevalent” in the

small lending business. Ala. Code § 5-18-2(5). To address this problem, the legislature established

a system requiring each lender to be licensed and requiring each licensee to abide by statutory

limits on interest charges. Ala. Code 5-18-4(a). But the Act goes further. It protects victims of

unlicensed lenders by expressly declaring those loans void and declaring that unlicensed lenders

have “no right to collect, receive, or retain any principal, interest, or charges whatsoever.” Ala.

Code § 5-18-4(d). And the act expressly prohibits the use of any “subterfuge or pretense

whatsoever” to evade the license requirements, including “through the use of activity of a third

person.” (e.g., an Indian tribe). Ala. Code 5-18-4(c). The ASLA is a remedial statute and is to be

interpreted broadly in accordance with its purpose. Austin, 936 So. 2d at 1026.




7
    The case was then settled and the appeal dismissed.



                                                  18
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 19 of 30




       On the other hand, Greenline’s contract, if enforced, eviscerates every aspect of the ASLA.

It bypasses the licensure requirements entirely, allowing unlicensed loans to Alabamians with

impunity. It nullifies the ASLA’s substantive protections by allowing small loans to Alabama

residents at rates far in excess of the statutory ceilings. Moreover, allowing a tribal affiliation and

tribal law to a shield the loans from the ASLA’s prohibitions is precisely the type of “subterfuge”

specifically prohibited in Section 5-18-4(c). 8 In short, Greenline’s scheme exposes Alabama

borrowers to precisely the predatory lending practices the Act means to shield them from, and its

evasive tactics are exactly those which ASLA prohibits. Because arbitration under Greenline’s

contract would exclude the remedies and protections provided by the ASLA, it offends the public

policy manifested therein and it is unenforceable.

       4. The Arbitration Clause is Unenforceable Because the Loan Agreement is Void

       Where a contract containing an arbitration clause is void, none of its provisions, including

an arbitration clause or class waiver, is unenforceable. Macon Cty. Greyhound Park, Inc. v.

Hoffman, 226 So. 3d 152, 169 (Ala. 2016)(arbitration contract contained in illegal gambling

contract unenforceable because the contract as a whole is void); Alabama Catalog Sales v. Harris,

794 So. 2d 312, 317 (Ala. 2000)(arbitration agreement in loan contract deemed void under the

ASLA is unenforceable); Camaro Trading Co. v. Nissei Sangyo Am., Ltd., 577 So. 2d 1274, 1274

(Ala. 1991)(arbitration clause not enforceable because it was part of a contract which was void by

operation of Alabama law because the defendant was not licensed in Alabama). “’Clearly, if a



8
 That subsection is titled “Evasions” and states as follows: “The provisions of subsection (a) of
this section (licensing requirement) shall apply to any person who seeks to evade its application
by any device, subterfuge, or pretense whatsoever including, but not thereby limiting the generality
of the foregoing: . .. the real or pretended negotiation, arrangement, or procurement of a loan
through any use of activity of a third person, whether real or fictitious.” Ala. Code § 5-18-4(c).
                                                19
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 20 of 30




party cannot be forced to arbitrate if the contract does not contain a valid arbitration clause, then a

party cannot be forced to arbitrate if the contract containing the arbitration clause, which gives the

arbitration clause viability, is found to be void.’” Camaro Trading Co., 577 So. 2d at 1275 quoting

A.J. Taft Coal Co. v. S & H Contractors, Inc., 1988 WL 235668, at *5 (N.D. Ga. Oct. 4, 1988).

        Greenline’s loan agreement is void thrice over. First, the express provisions of the ASLA

render the entire agreement void ab initio. Section 5-18-4(d) proclaims that “[a]ny contract of

loan in the making or collection of which any Act shall have been done which violates this section

shall be void, and the lender shall have no right to collect, receive, or retain any principal, interest,

or charges whatsoever.” The Alabama Supreme Court in Alabama Catalog Sales found that a

catalog sales scheme was governed by the ASLA and, because the lender was not licensed, was

void by operation of the ASLA. The court further held that the arbitration clause in the voided

contract was also void and unenforceable. “Thus, if the contracts are void and unenforceable (by

operation of the ASLA), no claims arising out of or relating to the contracts are subject to

arbitration.” Alabama Catalog Sales, 794 So. 2d 312, 317 (Ala. 2000).

        Second, even without regard to the express edict in Section 5-18-4(d), Alabama law renders

void any contract whose terms contradict statutory requirements. In Alabama law, ‘every contract’

“adverse to the enactments of the [Alabama] legislature, is illegal and void.” Perdue v. Green, 127

So. 3d 343, 358 (Ala. 2012), on reh'g (July 11, 2012). “As we have always held to be the law in

Alabama, whenever regulation and protection are the goal of a statute, contracts made in

derogation of that statue are null, void and unenforceable.” Derico v. Duncan, 410 So. 2d 27

(Ala.1982) (abrogated on other grounds by statute) (loan agreement made by lender not licensed

under the Mini-Code was void in its entirety). “An act under the police power, designed to regulate

the business, to protect the public against fraud and imposition, requiring a license as evidence of
                                                  20
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 21 of 30




qualification and fitness, and prohibiting any act of business under penalty, unless such license is

first obtained, does render such contracts illegal, void, and unenforceable in actions for the

recovery of compensation and the like.” Knight v. Watson, 221 Ala. 69, 70, 127 So. 841, 842

(1930).

          Finally, the Greenline agreement is void in its entirety because the act which created the

loan (extending a small loan without a license) is a crime. The Alabama Supreme Court in Macon

County held that no provision, including an arbitration clause, contained in a contract created by

and/or premised upon illegal activity may be enforced. 226 So. 3d at 167. That case addressed the

enforceability of arbitration clauses embedded in contracts between video gamblers and the owner

of electronic bingo machines. The Court made clear that no provision in an illegal contract,

including an arbitration clause, may be enforced. “To suggest that a court should enforce any

provision in a contract that is based on illegal conduct and that is void as a matter of law,

particularly when the agreement to arbitrate is itself based on gambling consideration, is

unconscionable.” Id., at 169.

          Greenline’s loan agreement falls squarely within the Macon County doctrine.            The

underlying act which created each of these loans – extending a small loan without a license - is a

crime. The subject matter of the transactions – small loans initiated by an unlicensed lender – is a

crime and a transaction deemed by the legislature to be void ab initio. Under Macon County, none

of the loan provisions is enforceable, including the arbitration provision.

          Because Greenline’s contract is void, the entire contract, including the arbitration clause

and the class action waiver, is void. The entire agreement is nullified and none of the written

provisions made by enforced. Macon County, 226 So. 3d at 169; Alabama Catalog Sales,794 So.

2d at 317; Camaro Trading Co., 577 So. 2d at 1274;
                                              21
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 22 of 30




        5. The Arbitration Clause is Unenforceable Because it Unconscionably Denies
           Plaintiff State Law Remedies

        In Alabama, a contract is unconscionable where (1) there was an absence of meaningful

choice on one party's part, (2) the contractual terms are unreasonably favorable to one party, (3)

there was unequal bargaining power among the parties, and (4) where terms are one-sided or

patently unfair terms in the contract. Am. Gen. Fin., Inc. v. Branch, 793 So. 2d 738, 748 (Ala.

2000); Layne v. Garner, 612 So. 2d 404, 408 (Ala. 1992).

        Clauses which limit or bar important state law remedies are unconscionable. Ex parte

Thicklin, 824 So. 2d at 731 (arbitration clause which limited punitive damages was

unconscionable); Wingard v. Lansforsakringar AB, 2012 WL 5258717, at *9 (M.D. Ala. Oct. 23,

2012), adhered to on reconsideration, 2013 WL 5493177 (M.D. Ala. Sept. 30, 2013)(refused

enforcement of choice-of-law provision (Sweden) because it prevented wrongful death remedies

otherwise available under Alabama law).

        In Ex parte Terex USA, LLC, 260 So. 3d 813, 822 (Ala. 2018), the Alabama Supreme

Court refused to enforce an outbound forum-selection clause forcing an Alabama heavy equipment

dealer to file suit in George and a choice of law clause selecting Georgia law as the exclusive law.

The court held that enforcement of the forum selection clause would circumvent the protections

provided to Alabama equipment dealers under the Alabama Heavy Equipment Act (“AHEDA”).

Id. at 822.

        The same is true here. The central purpose and effect of Greenline’s arbitration and choice

of law provisions is to extinguish all state law claims, including the statutory protections provided

in the ASLA. To accomplish this, Greenline employs an extremely broad scope provision, which



                                                 22
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 23 of 30




specifically includes all state law claims; and then, through the ban on application of any state law,

prevents the adjudication of any state law claims.

        Greenline’s contract does not simply provide an alternate forum for adjudication of state

law claims; it guarantees that no state claims be adjudicated at all. Such a scheme is patently unfair

and unenforceable in Alabama because it “limits not only the right to a specific forum, but the

right to a remedy itself.” Am. Gen. Fin., Inc. v. Branch, 793 So. 2d 738, 750 (Ala. 2000)(emphasis

in original).

        Numerous courts have struck down similar mechanisms in tribal payday loan agreement

which seek to extinguish state consumer protections. In fact, no court has endorsed an arbitration

clause with this extreme effect. “With one hand, the arbitration agreement offers an alternative

dispute resolution procedure in which aggrieved persons may bring their claims, and with the

other, it proceeds to take those very claims away. The just and efficient system of arbitration

intended by Congress when it passed the FAA may not play host to this sort of farce.” Hayes, 811

F.3d at 673–74 (finding a similar mechanism in a tribal payday loan to be unconscionable); see

also Williams, 965 F.3d at 241 (3d Cir.) 2020)(same); Gingras, 922 F.3d at 127 (2nd Cir.) (same);

Dunn, 506 F.Supp.3d at 1236 (“[T]his scheme seeks to abuse the arbitral forum by using it to evade

state consumer finance protections and usury laws that [lender] could not otherwise avoid. This

sort of charade is not what Congress had in mind when it passed the FAA.”); see also Liles v.

Ginn-La W. End, Ltd., 631 F.3d 1242, 1254 (11th Cir. 2011)(forum-selection clauses designed to

discourage legitimate claims are unenforceable as fundamentally unfair).

        The fundamental unfairness in capturing state law claims only to extinguish them is enough

to render Greenline’s clause unenforceable. See, e.g., Ex parte Terex USA, LLC, 260 So. 3d at

822. But also relevant is the presentment of the clause and the contract’s adhesive nature. The
                                               23
      Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 24 of 30




arbitration and choice of law clauses are buried in an 11-page electronic statement of terms. Once

Plaintiff was approved for the loan, he was automatically directed through prompts to the spaces

for his electronic signature. Viewing the actual language required additional steps. The agreement

is an adhesion contract, loaded with multiple pages of fine print including the language requiring

arbitration and banning state law. This was a take it or leave it proposition. Plaintiff had no

opportunity to negotiate terms or to obtain a loan without the offending language on different

terms. (Johnson Declaration, Exhibit 1); Parnell, 181 F. Supp. 3d at 1037 (finding that the forum-

selection clause in an online tribal payday loan was “not the product of arms'-length negotiations.

Defendants themselves placed the forum-selection clause into the Parnell Loan Agreement and

instructed Plaintiff to sign it in order to receive his loan.”).

        Greenline’s arbitration clause is unenforceable because it unconscionably denies Plaintiff

the remedies provided under Alabama law.



B.      GREENLINE’S CLASS ACTION WAIVER IS UNENFORCEABLE

        Defendants move to dismiss Plaintiff’s “class claims” pursuant to Rule 12(b)(6) based on

a purported class waiver contained within the arbitration clause discussed above. However, there

is no such thing as a “class claim.” A class action is a procedural device that permits one or more

plaintiffs to file and prosecute a lawsuit on behalf of a larger group, authorized by Rule 23 F.R.C.P.

Hansberry v. Lee, 311 U.S. 32 (1940). Rule 23 does not, and cannot, create any substantive claims.

Under the Rules Enabling Act, 28 U. S. C. §2072(a), the federal rules of civil procedure “shall not

abridge, enlarge or modify any substantive right,” § 2072(b). Thus, the class action device defines

procedure, not claims. Shady Grove Orthopedic Assoc. v Allstate Ins. Co., 559 U.S. 393 (2010);

                                                   24
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 25 of 30




Lisk v. Lumber One Wood Preserving, LLC, 792 F.3d 1331, 1338 (11th Cir. 2015)(“Rule 23 does

not ‘abridge, enlarge or modify any substantive right”. . ..”). If at all, Defendants’ argument is

appropriate at the class certification stage, not at the motion to dismiss stage.

       Further, the purported class action waiver in the loan agreement is void for all of the same

reasons the arbitration agreement is void. First, the waiver is inextricably bound to the arbitration

clause and when the arbitration clause fails the waiver fails as well. Brewer v Missouri Title Loans,

364 S.W. 3d 486 (Mo 2012)(class waiver unconscionable when entire arbitration clause

unconscionable). The contract itself ties the class action waiver to the arbitration agreement,

stating that the waiver is based on the agreement to arbitrate. See Doc. 17-1 at 6. With no

arbitration clause there is no class waiver.

       Additionally, for the reasons set out above, the entire contract is void, including any class

waiver, and cannot be enforced. As the contract is void, the waiver contained in the contract is

also void. Alabama Catalog Sales,794 So. 2d at 317; Camaro Trading Co., 577 So. 2d at 1274.



C.     NO CLAIMS ARE DUE TO BE DISMISSED BECAUSE OF TRIBAL IMMUNITY

       Defendants’ entire immunity argument assumes a tribe has been sued. That is not the case.

The sole corporate defendant is Waawaatesi LLC, described in the Complaint as a limited liability

company which includes a member who claims to be a tribe. (Complaint, ¶ 2). Waawaatesi is not

a tribe. It is a separate corporate entity. Whether it is entitled to immunity as an arm of the tribe

is a fact-specific inquiry and not subject to dismissal on this record.




                                                  25
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 26 of 30




       Defendants have the burden of proving tribal immunity.          See Williams v. Big Picture

Loans, LLC, 929 F.3d 170 (4th Cir. 2019); People, ex rel. Owen, v. Miami Nation Enterprises, 386

P.3d 357 (Cal. 2016).

       Tribal immunity is akin to an affirmative defense in that a tribe (or arm of a tribe)
       must invoke immunity; a plaintiff does not have the burden to plead sufficient facts
       to defeat immunity.

Easley v. Hummingbird Funds, 2020 WL 5099941 (S.D. Ala. Aug. 8, 2020). The limited evidence

submitted by the Defendants regarding the formation and ownership of Waawaatesi LLC fails to

carry this burden.

       Whether an independent entity is an arm of the tribe is highly fact-specific issue. The most

comprehensive, and widely accepted, statement of the factors to be considered by the court in

making an arm of the tribe determination was set forth by the Tenth Circuit Court of Appeals in

Breakthrough Management Group, Inc. v. Chukchansi Gold Casino and Resort, 629 F.3d 1173

(10th Cir. 2010). In that case, the court surveyed the laws that existed at that time and concluded

the following factors are helpful in forming the inquiry as to whether a tribe’s economic entity

shares in the tribe’s immunity: the method of creation of the economic entities; their purpose; their

structure, ownership, and management, including the amount of control the tribe has over the

entities; the tribe’s intent with respect to the sharing of its sovereign immunity; and the financial

relationship between the tribe and the entities. These five Breakthrough factors have been widely

accepted. White v. University of California, 765 F.3d 1010, 1026 (9th Cir. 2014); Williams, 929

F.3d at 177; Solomon v. Am. Web Loan, 375 F. Supp. 3d 638, 652 (E.D. Va. 2019). It is the

Defendants’ burden to establish, through this fact-specific analysis, that Waawaatesi is a tribal

arm. Moreover, the Complaint alleges that any sovereign immunity has been waived by the actions

taken with respect to Plaintiff’s loan. (Complaint, ¶¶ 39-40 & 50).
                                                26
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 27 of 30




       Thus, whether Waawaatesi is entitled to tribal immunity in the first place and whether it

has waived of any immunity are fact-driven issues. Defendant relies on a declaration which claims

Waawaatesi is owned by LDF Holdings, LLC, which is in turn owned by another corporation; the

Tribe owns and/or controls LDF Holdings, LLC and its subsidiaries; and LDF Holdings, LLC

owns and/or controls and manages Waawaatesi. Those facts, while relevant, do not satisfy the

inquiry the court is required to make to extend sovereign immunity to the third-party LLC. Further,

the decision on extending immunity any of the Defendants should only be adjudicated after

discovery. See Plaintiff’s Motion for Jurisdictional Discovery filed contemporaneously with this

response.

       Defendants Lorenzo and Wildcat argue that they are also entitled to sovereign immunity

from this suit as tribal officials, relying on the Ninth Circuit court’s opinion in Cook v. AVI Casino

Enterprises, Inc., 548 F.3d 718, 727 (9th Cir. 2008). That principle has no application in this case.

The Eleventh Circuit recognizes that the exception to sovereign immunity set forth in Ex parte

Young, 209 U.S. 123, 155-56 (1908), applies to suits seeking injunctive relief against tribal

officials. Tamiami Partners, Ltd. v. Miccosukee Tribe of Indians, 177 F.3d 1212, 1225 (11th Cir.

1999). The exception to immunity applies to both federal law claims and to state law claims.

Citing Michigan v. Bay Mills Indian Cmty, 572 U.S. 782 (2014), the Eleventh Circuit held in

Alabama v. PCI Gaming Authority, 801 F.3d 1278, 1290 (2015), that “tribal officials may be

subject to suit in federal court for violations of state law under the fiction of Ex parte Young when

their conduct occurs outside of Indian lands.” In Bay Mills, the Supreme Court held that the Indian

Gaming Regulatory Act did not abrogate tribal sovereign immunity from a state’s suit to enjoin

off-reservation gaming, and thus Michigan could not bring suit against the Bay Mills Indian

Community for opening a casino off tribal lands. The Court suggested, however, that “Michigan
                                              27
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 28 of 30




could bring suit against tribal officials or employees (rather than the tribe itself) for, say, gambling

without a license.” By analogy to Ex parte Young, the Court explained, “tribal immunity does not

bar such suit[s] for injunctive relief against individuals, including tribal officers, responsible for

unlawful conduct.”

        The holding in PCI Gaming is in line with other cases specifically dealing with tribal

lending. See Gingras v. Think Fin., Inc., 922 F.3d 112, 122-24 (2d Cir. 2019) (“Application of the

Ex parte Young exception represents a balanced approach that accounts for the competing interest

of two sovereigns, tribes and states, and allows the state to enforce its laws against tribal officials

while ‘providing a neutral forum for the peaceful resolution of disputes between domestic

sovereigns and it fairly holds Indian tribes acting [off reservation] to their obligation to comply

with generally applicable state law.’”); Great Plains Lending, LLC v. Dep’t of Banking, 339 Conn.

112, 259 A.3d 1128 (2021)(recognizing that tribal officials are not immune from a suit for

prospective injunctive relief, relying on Gingras). Thus, the individual Defendants have no

immunity even if the Court were to conclude that Waawaatesi, LLC is an arm of the tribe.



    D. THE COMPLAINT ADEQUATELY IDENTIFIES THE CLAIMS AND IS NOT AN
       IMPERMISSIBLE SHOTGUN PLEADING.

        Defendants’ assertion that the Complaint is an impermissible shotgun pleading which fails

to adequately state claims against each Defendant is completely without merit.

        Under Rule 8, Plaintiffs need not plead “detailed factual allegations,” but need only set

forth enough facts to state a plausible entitlement to relief. Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007); Erickson v. Pardus, 551 U.S. 89, 93 (2007) (“Specific facts are not necessary; the

statement need only give the defendant fair notice of what the claim is and the grounds upon which

                                                  28
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 29 of 30




it rests.”) (citations and alteration omitted). The test calls for “more than a sheer possibility that a

defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).

       A shotgun pleading is one which “fails to satisfy these basic requirements. Such a pleading

is never plain because it is impossible to comprehend which specific factual allegations the

plaintiff intends to support which of his causes of action, or how they do so.” Estate of Bass v

Regions Bank Inc., 947 F.3d 1352, 1358 (11th Cir. 2020). “The unifying characteristic of all types

of shotgun pleadings is that they fail to one degree or another, and in one way or another, to give

the defendants adequate notice of the claims against them and the grounds upon which each claim

rests.” Weiland v Palm BeachCounty Sheriff’s Office, 792 F.3d 1313,1323 (11th Cir. 2015).

       This description has no application here. The Complaint explains in detail each

Defendant’s role in the Greenline scheme. Greenline is a d/b/a of Waawaatesi Greenline is the

lending label under which Waawaatesi conducts the illegal lending operation. (Complaint, ¶¶ 2-3,

20-23). The Complaint alleges that Defendant Lorenzo is personally involved in the illegal loan

scheme and has the power to stop the practices. (Id., ¶ 10). Defendant Wildcat is the president of

the LDF tribe and responsible for its financial operations, including its decision to engage in illegal

lending. (Id., ¶ 11). All of the Defendants were directly involved in the legal lending activities.

(Id., ¶ 13). At the same time, the ASLA requirements apply to any “person” “engage[d] in the

business of lending.” Ala. Code § 5-18-4(a). “Person” is defined to include individuals and

corporate entities. Ala. Code § 5-18-3(1).

       The mere fact the Complaint alleges that the Defendants collectively schemed to violate

the ASLA does not make it an infirm shotgun pleading. “The fact that defendants are accused

collectively does not render the complaint deficient.” Kyle K. v. Chapman, 208 F.3d 940, 944

(11th Cir. 2000). As in Kyle, the Complaint here “can be fairly read to aver that all defendants are
                                               29
     Case 3:22-cv-00336-RAH-JTA Document 21 Filed 09/16/22 Page 30 of 30




responsible for the alleged conduct.” Id.; accord Ray v. Foltz, 370 F.3d 1079, 1083 n.2 (11th Cir.

2004); see also JAWHBS, LLC v. Arevalo, 2017 WL 1345141, at *5 (S.D. Fla. Apr. 12, 2017)

(rejecting defendants' argument that complaint should be dismissed as shotgun pleading because

allegations were against “groups of Defendants”); Huff v. Bobcat N. Am., LLC, 2019 WL

8273658, at *6 (M.D. Fla. Oct. 16, 2019) (denying motion to dismiss complaint where plaintiffs

referred to “Defendants” throughout the complaint).

                                        CONCLUSION

       For all the reasons stated above, Defendants’ Motion to Dismiss is due to be denied.

                                             /s/ Kenneth J. Riemer
                                             KENNETH J. RIEMER (RIE003)
                                             Riemer Law, LLC
                                             2153 Airport Boulevard
                                             Mobile, AL 36606
                                             Kriemer01@gmail.com
                                             (251) 432-9212 Phone
                                             (251) 433-7172

                                              /s/ Steven L. Nicholas
                                             STEVEN L. NICHOLAS (NIC2021)
                                             Cunningham Bounds, LLC
                                             1601 Dauphin Street
                                             Mobile, Alabama 36604
                                             sln@cunninghambounds.com
                                             (251) 471-6191 Phone
                                             (251) 479-1031 Facsimile


                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 16th day of September, 2022, electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record.

                                             /s/ Kenneth J. Riemer
                                             KENNETH J. RIEMER


                                               30
